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                             IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH CAROLINA
                                      COLUMBIA DIVISION

    THE STATE OF SOUTH CAROLINA, ex.
    rel. Alan M. Wilson, in his official capacity as
    Attorney General of the State of South
    Carolina,

                         Plaintiff,                             MDL No. 2:18-mn-2873-RMG

                   vs.
                                                                   This Document Relates To
    3M COMPANY; EIDP, INC., f/k/a E.I.                       Civil Action No.: 2:23-cv-05979-RMG
    DUPONT DE NEMOURS AND COMPANY
    (“Old    DuPont”);   THE CHEMOURS                      STATE OF SOUTH CAROLINA’S REPLY
    COMPANY           (“Chemours”); THE                      IN SUPPORT OF ITS MOTION TO
    CHEMOURS COMPANY FC, LLC                                           REMAND 1
    (“Chemours FC”); CORTEVA, INC.
    (“Corteva”); and DUPONT DE NEMOURS,
    INC. (“New DuPont”),

                         Defendants.

      I.      Introduction

           It would not be appropriate for this Honorable Court to extend its jurisdiction to this case

because the Plaintiff State of South Carolina (the “State”) confines the injury and the damages it

seeks due to contamination of its natural resources by PFAS products other than aqueous film

forming foam (“AFFF”). The State has brought a separate case that specifically addresses and

includes contamination from AFFF, which is currently and properly before this Honorable Court.

That action provides 3M with a federal forum for the only claims to which a federal contractor

defense is colorable.

           3M attempts to expand the application of federal officer jurisdiction based on conjecture



1
 Pursuant to this Court’s prior case management orders, Co-Lead Counsel authorized the filing of
South Carolina’s Motion to Remand.
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that, despite the Plaintiff’s plain words, AFFF products are the real issue in this non-AFFF case.

3M’s speculation cannot support extension of jurisdiction. Nor can 3M establish federal enclave

jurisdiction when the predicate necessities do not exist and the State has expressly disclaimed

seeking damages in this case for any PFAS coming from federal enclaves. Accordingly, the State

of South Carolina respectfully moves this Honorable Court to remand this case to proper

jurisdiction in state court.

    II. Argument

        Because the Plaintiff’s well-pled Complaint provides no basis for the exercise of federal

jurisdiction, 3M has the burden of showing that federal officer removal is proper. See Mulcahey

v. Columbia Organic Chemicals Co., 29 F.3d 148, 151 (4th Cir. 1994) (citing Shamrock Oil & Gas

Corp. v. Sheets, 313 U.S. 100, 61 S. Ct. 868, 85 L. Ed. 1214 (1941)) (“[The] burden of establishing

federal jurisdiction is placed upon the party seeking removal.”). 3M does not dispute this point,

but instead argues that it need only make plausible allegations in support of federal officer removal.

(3M Company’s Opposition to Plaintiff’s Motion for Remand, ECF No. 11 (the “Opposition” or

“Opp.”) at 9). In proving it was acting under a federal officer, a defendant must prove a “causal

nexus ‘between the charged conduct and asserted official authority,’” meaning the defendant took

the at-issue action because the Government instructed it. Ripley v. Foster Wheeler, LLC, 841 F.3d

207, 210 (4th Cir. 2016) (quoting Jefferson Cty., Ala. v. Acker, 527 U.S. 423, 431 (1999)).

Establishing this nexus may create a “colorable federal defense,” government-contractor

immunity, as to the charged conduct. Sawyer v. Foster Wheeler, 860 F.3d 249, 252 (4th Cir. 2017).

3M notes “a federal defense is colorable ‘unless it is immaterial and made solely for the purpose

of obtaining jurisdiction or wholly insubstantial and frivolous.’” Opp. at 23 (citing Moore v. Elec.

Boat Co., 25 F.4th 30, 37 (1st Cir. 2022)). 3M has failed to meet its burden.



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       Because this suit does not assert claims based on AFFF-caused contamination, and because

3M did not manufacture or distribute PFAS commercial or consumer products under direction

from the U.S. Government, 3M cannot assert federal-contractor immunity to the claims in this

action. “Deny[ing] remand of this case would affirm [Defendant’s] right to assert a defense against

a claim that does not exist.” Kelleher v. A.W. Chesterton Co., No. 15-CV-893, 2015 WL 7422756,

at *2-3 (S.D. Ill. Nov. 23, 2015).

   1. This Case has No “Connection or Association” to AFFF Produced for the Federal
      Government

       3M never suggests that the household, commercial, or industrial PFAS products at issue in

this case have a connection to federal authority, were made to military specifications, or were

otherwise manufactured under “color of” federal office. Plainly, the federal government had no

involvement or oversight with respect to the PFAS manufactured by Defendants which are used

in burger wrappers, pizza boxes, or stain repellants and have contaminated the State’s natural

resources.

       As the Fourth Circuit instructs, a defendant seeking removal under § 1442(a)(1) must

demonstrate a “nexus” to federal authority—which requires a showing “‘that the charged conduct

was carried out for or in relation to the asserted official authority.’” Mayor of Balt. v. BP P.L.C.,

31 F.4th 178, 219 (4th Cir. 2022) (emphasis added; citation and brackets omitted). 3M does not

seek to demonstrate that the “charged conduct” in this case was “carried out for or in relation to”

federal authority. 3M does not assert that it was acting under a federal officer or serving a

government purpose when it manufactured and distributed PFAS-containing commercial products.

Even generously construing 3M’s relationship to the Government, the charged conduct here relates

to a wholly separate product and business function.




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       While the federal officer removal statute may be liberally construed by courts, “broad

language is not limitless. And a liberal construction nonetheless can find limits in a text’s language,

context, history, and purposes.” Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 147 (2007). 3M

is asking this Honorable Court to exercise its limited jurisdiction based on speculation about the

potential of some commingling between AFFF and non-AFFF. Where, as here, there are two

distinct products causing damages, a state court may properly assess and allocate damages

attributable to non-AFFF PFAS. 3M argues that because the State alleges PFAS contamination is

mobile, AFFF contamination must be commingled at non-AFFF sites in South Carolina. Opp. at

2. The State has submitted a detailed declaration of a state agency employee to the contrary,

explaining that AFFF and other PFAS-caused contamination are distinguishable. 3M has not

presented any evidence contradicting Mr. Reynolds’ declaration. 2

       As the State noted in its initial briefing, courts have rejected 3M’s argument that possible

AFFF “commingling” is sufficient to trigger federal officer removal jurisdiction. As the Court

correctly observed in Maine, “the federal officer defense will not be applicable in the State’s Non-

AFFF lawsuit because the State by its express disclaimer has imposed upon itself a burden to

demonstrate that its claim involves non-AFFF sources.” Maine, 2023 WL 4758816 at *10.

       Because the State is not seeking any AFFF damages in this case, the federal contractor

defense cannot arise:

       [T]here is no scenario under which 3M could be found liable for any damages
       caused by AFFF. That is, regardless of whether 3M's AFFF conformed to a
2
 3M goes to great length in its Opposition to highlight alleged deficiencies in the Declaration of
Scott Reynolds, a Senior Scientist in Environmental Affairs Administration at the South Carolina
Department of Health and Environmental Control (“DHEC”). 3M has not critiqued or refuted Mr.
Reynolds’ confirmation that “PFAS compounds have been found by DHEC testing in locations
where there is no known historical use of AFFF.” Reynolds Dec. at ¶ 19. The State submitted the
Declaration of Mr. Reynolds as Exhibit 1 to its Memorandum of Law Supporting the State’s
Motion to Remand and incorporates the same herein.

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       specification required by the United States military or whether 3M appropriately
       warned the government about the dangers of PFAS, 3M cannot be liable in this case
       for contamination resulting from its alleged supply of MilSpec AFFF.

New Hampshire, 665 F. Supp. 3d at 227-28. Although 3M claims New Hampshire and Maine were

“wrongly decided,” the logic of these decisions is sound — a lawsuit that disclaims recovery for

AFFF cannot “relate to” 3M’s federal actions. New Hampshire, 665 F. Supp. 3d at 228; Maine,

2023 WL 4758816, at *10. Illinois ex rel. Raoul v. 3M Co. was recently remanded following the

same logic. No. 4:22-CV-04075, 2023 WL 6160610 (C.D. Ill. Sept. 21, 2023).

       In Raoul, the State of Illinois brought an action in state court to recover for PFAS

contamination released from 3M’s Cordova facility on the Mississippi River and, as here,

disclaimed recovery for “any PFAS that have contaminated Illinois’ environment or natural

resources from aqueous film-forming foams (“AFFF”) containing . . . PFAS compound[s].” Id. at

*1 (alterations in original). Despite Illinois’ disclaimer, 3M removed the case on the basis that

non-AFFF contamination likely “overlap[s]” with AFFF contamination from the “U.S. Military at

the Rock Island Arsenal, twenty-five miles downstream from the Cordova Facility” and so

triggered the federal officer removal statute. Id. at *2.

       The court in Raoul properly declined to exercise jurisdiction, noting that “[C]ourts have

consistently granted motions to remand where the plaintiff expressly disclaimed the claims upon

which federal officer removal was based.” Id. at *5 (quoting Reinbold v. Advanced Auto Parts,

Inc., Case No. 18-CV-605-SMY-DGW, 2018 WL 3036026, at *2 (S.D. Ill. June 19, 2018)).

Importantly, the Raoul Court squarely rejected 3M’s argument that a federal court had to determine

whether certain contamination in the Mississippi River was attributable to MilSpec:

       This Court does not disagree that Defendant could point to PFAS contamination
       from the use and storage of MilSpec AFFF at the Rock Island Arsenal as an
       alternate source of the contamination that is the basis of this suit. But even without
       asserting the federal government contractor defense as to that source of

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        contamination, Defendant cannot be held liable for contamination from the Rock
        Island Arsenal. In other words, once Defendant shows that a certain portion of the
        contamination stemmed from MilSpec AFFF released from the Rock Island
        Arsenal, that contamination is eliminated from the case, whether or not that
        MilSpec AFFF was produced according to rigorous military specifications and the
        government was warned of any dangers of which it was unaware.

Raoul at *6. 3

        Although already addressed in the State’s opening memorandum, 3M erroneously relies on

this Honorable Court’s ruling in In re: AFFF Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG,

(D.S.C. Oct. 1, 2019), ECF No. 325 (“Ridgewood Water”) for the proposition that remand should

be denied “because the parties will need to litigate whether and how any portion of the alleged

contamination at sites throughout South Carolina resulted from MilSpec AFFF.” Opp. at 18. This

Honorable Court denied remand in Ridgewood Water in part because it found a factual dispute

which could make the federal contractor defense and “official acts” potentially relevant to the

claims at issue in that case. See Ridgewood Water Order at 2-3. Although the plaintiff in

Ridgewood Water attempted to disclaim injury from MilSpec AFFF, the disclaimer was not

comprehensive because of the plaintiff’s failure to exclude contamination from one site where

MilSpec AFFF “could have been used.” 4 Id.

        3M mischaracterizes the decision by the MDL court in the Ridgewood Water matter.

Although the plaintiff there “disclaim[ed] any injuries traceable to MilSpec AFFF,” it included

claims for injuries based on “commercial AFFF use by non-federal consumers.” See Ridgewood


3
  Notably, in Raoul, 3M argued in its Notice of Removal that the Baker decision required a federal
court to decide whether “the pollution arose from [3M’s] federal acts.” Raoul, 2022 WL 1195996,
at 41 (quoting Baker, 962 F.3d at 945). The District Court appropriately concluded this 7th Circuit
precedent was not controlling, as the “the actions under federal directive must relate to the claims
brought in the suit” for federal officer jurisdiction to lie. Raoul, 2023 WL 6160610, at *4 (citing
Baker, 962 F.3d at 943).
4
  Ridgewood Water’s disclaimer was “to the extent AFFF is a cause of Ridgewood’s injuries, it is
limited to commercial AFFF used by non-federal consumers at fire readiness and suppression sites
in Northern Bergen County, New Jersey.” Ridgewood Water, at 3.
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Water Order at 2-3. In ruling that these claims for “commercial AFFF to non-federal users”

conferred federal officer jurisdiction, this Honorable Court reasoned that “[d]esigning AFFF

products to military specifications promulgated by the Department of Defense, . . . as [defendants]

allege, may constitute ‘acting under’ the military’s guidance.” Id. at 4. Here, in stark contrast, the

State has not made claims for injury from any kind of AFFF in this action, regardless of whether

it was sold to federal or non-federal users, so Ridgewood Water does not support 3M’s position.

Similarly, 3M’s reliance upon a footnote in the Baker v. Atlantic Richfield Co., 962 F.3d 937 (7th

Cir. 2020) opinion is misguided. Like Ridgewood and Nessel v. Chemguard, Inc., 2021 WL

744683 (W.D. Mich. Jan. 6, 2021), 5 the Baker case involved an incomplete disclaimer. Incomplete

disclaimers, like those in Baker and Ridgewood Water fail to satisfy the “or related to” clause in

Section 1442(a)(1), because the at-issue products are similar in design and serve similar functions

(i.e. MilSpec AFFF compared to non-Milspec AFFF). South Carolina’s case is more similar to

Maine, New Hampshire, and Raoul in that the suits involve completely different products with

completely different purposes. As stated, commercial PFAS products that caused contamination

in South Carolina are distinct from AFFF products such that their manufacture and distribution is

not “related to” 3M’s AFFF products. Because South Carolina made a complete and unequivocal

disclaimer here, this Honorable Court should not rely on 3M’s cited cases as a basis to deny the

State’s Motion to Remand.

      2. 3M’s Federal Contractor Defense is Not Colorable

         In this suit, South Carolina is not asserting any AFFF claims. Because South Carolina did

not assert AFFF claims, 3M cannot assert a government contractor defense to those unasserted

claims. 3M highlights that “the State cannot limit the defenses that 3M raises . . . .” Opp. at 2.



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    3M’s erroneous reliance on Nessel is discussed in depth in the State’s opening memorandum.
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However, it is well established that “to remove a case under § 1442(a)(1), . . . defendant must show

. . . that it has a ‘colorable federal defense.’” BP, 31 F.4th at 228 (emphasis added; citation omitted).

A “colorable” defense must necessarily be a “defense to Plaintiff’s claims for relief.” Batchelor,

185 F. Supp. 3d at 1362 (emphasis added). 3M is seeking to invoke federal removal jurisdiction to

assert a defense for a claim that Plaintiff has not asserted.

        Nevertheless, 3M asserts that “it will be necessary to evaluate whether any portion of the

alleged PFAS contamination is, or is not, attributable to MilSpec AFFF and/or to other PFAS

sources” and “the need for the fact-intensive inquiry necessarily makes this case ‘connected to or

associated with’ MilSpec AFFF.” Opp. at 15, 21. 3M’s arguments are a red herring. In any case

with multiple contributing sources of injury, a fact-finding process may be needed to determine

the degree to which the injury was caused by the claims that the plaintiff asserted. But that does

not in and of itself give rise to federal jurisdiction. If an injury is wholly or partially caused by

claims that “do not exist” in a case, the plaintiff will not recover for that portion of the injury.

        Although 3M continually asserts it is entitled to raise a federal contractor defense relating

to MilSpec AFFF despite South Carolina’s disclaimer, those MilSpec “claims . . . simply do not

exist” in this case. See Batchelor v. Am. Optical Corp., 185 F. Supp. 3d 1358, 1363–65 (S.D. Fla.

2016) (“Westinghouse, therefore, cannot raise a colorable federal defense to Plaintiff's claims

because Westinghouse's sole basis for removal is its contention that Plaintiff was exposed to

asbestos while aboard the U.S.S. Gato, which is not at issue in this case. In other words,

Westinghouse cannot assert a colorable federal defense based on government contractor immunity

because such a defense "pertains to claims that simply do not exist.’”). It is axiomatic that defenses

to nonexistent claims are not colorable.

            A. Jurisdiction cannot be created simply to resolve factual disputes.



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       Federal officer removal exists to ensure that a federal court resolves a federal defense; it

does not exist to ensure that a federal court conducts the injury causation analysis. As stated, “a

defense cannot be asserted simply to create jurisdiction,” Moore v. Elec. Boat Co., 25 F.4th 30, 37

(1st Cir. 2022). This Honorable Court found a triable issue of fact exists as to the U.S.

Government’s knowledge of dangers presented by AFFF. Order and Opinion Denying Defendants’

Motion for Summary Judgment, In re: AFFF Prods. Liab. Litig., No. 2:18-MN-2873-RMG (D.

S.C. Sept. 16, 2022). However, since this case is not about AFFF, what the Federal Government

knew and at what time is not relevant to the State’s claims. Rather, “a remand motion is not to

resolve whether the defendant has established the federal contractor defense or to resolve factual

disputes, but only to ensure the existence of some competent evidence supporting a ‘colorable’

federal defense,” Cuomo v. Crane Co., 771 F.3d 113, 117 (2d Cir. 2014). In Cuomo, the Defendant

introduced “several affidavits and numerous documentary exhibits” indicating that the military

contractor where the plaintiff’s decedent worked was acting under detailed instructions from the

Navy and that the Navy was well aware of the risks of asbestos. Id. at 116. The plaintiff submitted

competing evidence merely challenging the “accuracy or reliability” of that evidence, which

created a “factual dispute” on the merits of the federal officer defense. Id. In Cuomo, the specificity

of the Government’s instructions was at issue. That issue is distinguishable from the issue here,

which is whether the Government issued instruction causing the charged conduct. Ultimately, the

Cuomo court found “the inquiry on … remand is purely jurisdictional,” and that parties should not

be required to engage in fact-intensive discovery to resolve a jurisdiction issue. Id. at 116. Since

the question here is: “Was the charged conduct undertaken with Federal instruction?’ and the

answer is, “No,” further factual inquiry on the issue of jurisdiction is not necessary.

       Additionally, were this Honorable Court to retain South Carolina’s case, the State would



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lose its sovereign authority to assert non-AFFF harms regarding state land in a forum of the

State’s choosing. “[C]onsiderations of comity make us reluctant to snatch cases which a State

has brought from the courts of that State, unless some clear rule demands it.” Franchise Tax Bd

v. Constr. Laborers Vacation Trust, 463 U.S. 1, 21 n.22, 103 S.Ct. 2841, 77 L.E.2d 420 (1983).

“Judicial scrutiny is especially important in the context of removal, where considerations of

comity play an important role.” In re Standard & Poor’s Agency Rating Litigation, 23 F. Supp.

3d 378, 392 (S.D.N.Y. 2014) (quoting Veneruso v. Mount Vernon Neighborhood Health Ctr.,

933 F. Supp. 2d 613, 618 (S.D.N.Y. 2013). “And the importance of such scrutiny is at its zenith

where, as here, the suit was brought by a State itself, as ‘the claim of sovereign protection from

removal’ in such circumstances ‘arises in its most powerful form.’” Standard & Poor’s, 23 F.

Supp. 3d at 392 (quoting Nevada v. Bank of Am. Corp., 672 F.3d 661, 676 (9th Cir. 2012).

   3. There is no Federal Enclave Jurisdiction.

       3M’s continued attempt to assert that federal enclave jurisdiction exists in this matter does

not comport with applicable law. Binding precedent provides that federal enclave jurisdiction

“requires that all pertinent events take place on a federal enclave.” BP, 31 F.4th at 219 (emphasis

added). Despite case law to the contrary, 3M insists that it can demonstrate federal enclave

jurisdiction by pleading that the State’s “claims arise partly from federal enclaves.” Opp. at 29.

(emphasis added). 3M’s logic is that the State’s complaint encompasses alleged PFAS

contamination throughout South Carolina, that there are federal enclaves in South Carolina, and

that by extension the court can exercise jurisdiction over part of this case using federal enclave as

a basis which then allows “supplemental jurisdiction” over the rest. Opp. at 29-30.

       3M’s argument lacks merit. Federal enclave jurisdiction is subject to the well-pleaded

complaint rule, so federal jurisdiction is appropriate only where the complaint reveals



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that the claims arose on federal enclaves. Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1250

(9th Cir. 2006). In the federal enclave context, “[c]ourts presume that federal jurisdiction does not

exist over a removed case unless the defendant can affirmatively show otherwise.” New Mexico

ex. Rel. Balderas v. Monsanto Co., 454 F. Supp. 3d 1132, 1146 (D.N.M. 2020). The removing

party has the “burden of proving subject matter jurisdiction” and “because removal raises

‘significant federalism concerns,’ removal . . . must be strictly constructed, and all doubts must be

resolved in favor of remaining the case to state court.” Md. Stadium Auth. v. Ellerbe Becket Inc.,

407 F.3d 255, 260 (4th Cir. 2005).

       Courts have repeatedly rejected attempts to assert federal enclave jurisdiction where only

some of the alleged conduct or injury occurred on a federal enclave. See, e.g. Rhode Island v. Shell

Oil Prod. Co., 35 F.4th 44, 58 (1st Cir. 2022) (“[T]he doctrine of federal enclave jurisdiction

generally requires that all pertinent events take place on a federal enclave.”); Maine, 2023 WL

4758816, at *11 (rejecting assertion of federal-enclave jurisdiction because 3M could not

“plausibly” contend “that all pertinent events [took] place on a federal enclave” and because, in

any event, the State “disclaimed any AFFF claims, including those arising from a federal

enclave”); State v. Monsanto Co., 274 F. Supp. 3d 1125, 1132 (W.D. Wash. 2017), aff'd, 738 F.

App'x 554 (9th Cir. 2018) (finding federal enclave jurisdiction exists only where the claim arises

on the federal enclave—not nearby or adjacent to it). 3M does not argue that all pertinent events

occurred on a federal enclave. The State is not seeking relief for contamination of federal territories

and does not have standing to do so; instead, the State is seeking relief for non-AFFF

contamination to its own natural resources, which definitionally are not federal enclaves. 3M’s

attempt to render the entire State of South Carolina subject to federal enclave jurisdiction would

stretch the limited federal enclave doctrine well past its original intention and defy the well-pleaded



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complaint doctrine and disregard the State’s authority to bring claims for its own resources

separate from the Federal government’s responsibility to oversee its separate properties.

          3M’s supplemental jurisdiction argument also fails. In the case on which 3M relies, the

State of New York alleged that MilSpec AFFF “were used by the Air National Guard and the

United States Air Force on military bases and at civilian airports.” In re: AFFF, 2019 WL 2807266,

at *1 (D.S.C. May 24, 2019). In short, New York state brought claims that were related to the use

of AFFF on federal enclaves (Griffis Air Force base). Accordingly, this Honorable Court held that

removal was proper as to Griffis and exercised supplemental jurisdiction over claims related to the

other bases. Id. at *4. Unlike New York, South Carolina has not brought claims for the use of

AFFF on federal enclaves, but has expressly excluded injuries arising from such contamination

and instead simply seeks statewide relief for the damages caused to the State’s natural resources

from non-AFFF PFAS.

          3M has failed to meet its burden in establishing federal enclave jurisdiction.

   III.      Conclusion

   For the foregoing reasons and those in the State’s Motion and supporting documents, this

Honorable Court should remand this action to the Richland County Court of Common Pleas.

                                        Respectfully submitted,

                                        s/Michael D. Wright

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                    Pursuant to CMO 2A, filed with the Approval of,




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing to be filed with the Clerk of this
Court via CM/ECF system, which will send a Notice of Electronic Filing to all counsel of record.


                                              /s/ Michael D. Wright
                                              Savage, Royall, & Sheheen, LLP
February 9, 2024




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